                                        THE UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF OHIO

                    IN RE:                                       ) CHAPTER 13
                                                                 ) CASE NO: 19-50681
                    Christopher D Janok                          )
                                                                 ) ALAN M. KOSCHIK
                                                                 ) BANKRUPTCY JUDGE
                                              DEBTOR(S)          )
                                                                 ) 341 MEETING OF CREDITORS
                                                                 ) CANNOT BE CONCLUDED
                           Now comes Keith L. Rucinski, the Chapter 13 Trustee, and hereby states that the 341
                    Meeting of Creditors has been adjourned to 07/25/2019 8:30 a.m. for the following reason(s).

                          Rescheduled by Attorney                         Plan is not feasible

                          Budget must be ameneded                     X Plan must be amended

                          Tax Returns Not provided                    X Paystubs not provided

                          Financial Statements not provided               Auto insurance not provided

                          Homeowner's Insurance not provided              Chapter 13 payment

                          Means Test needs amended                        Pending outcome of Motion to Dismiss

                    - NEED CURRENT PAYSTUBS FROM NEW JOB
                    - NEED 3 MONTHS WORTH OF BANK STATEMENTS
                    - NEED AMENDED SCHEDULE I & J LISTING NEW EMPLOYMENT
CHAPTER 13
                    - NEED TREATMENT OF GREAT ESCAPE (SECURED CLAIM FILED)
Keith L. Rucinski
     Trustee
  One Cascade
Plaza, Suite 2020
   Akron, OH
     44308                 Failure to resolve all items checked by the adjourned date will result in the Trustee
 (330)762-6335
       Fax          requesting the court to dismiss the case.
 (330)762-7072

                                                                    Keith L. Rucinski, Chapter 13 Trustee
                                                                    One Cascade Plaza, Suite 2020
                                                                    Akron, OH 44308

                             DAVID A MUCKLOW (via ECF)

                    cc:      Christopher D Janok
                             1233 Nola Avenue
                             Barberton, OH 44203
                             (via Regular Mail)




              19-50681-amk        Doc 24     FILED 06/20/19       ENTERED 06/20/19 07:39:13           Page 1 of 1
